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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                               MDL No. 2804



                                  (SEE ATTACHED SCHEDULE)



                               CONDITIONAL REMAND ORDER



The transferee court in this litigation has advised the Panel that coordinated or consolidated pretrial
proceedings in the action(s) on this conditional remand order have been completed and that remand
to the transferor court(s), as provided in 28 U.S.C. § 1407(a), is appropriate.

IT IS THEREFORE ORDERED that the action(s) on this conditional remand order be remanded to
its/their respective transferor court(s).

IT IS ALSO ORDERED that, pursuant to Rule 10.2 of the Rules of Procedure of the United States
Judicial Panel on Multidistrict Litigation, the transmittal of this order to the transferee clerk for
filing shall be stayed 7 days from the date of this order. If any party files a notice of opposition with
the Clerk of the Panel within this 7−day period, the stay will be continued until further order of the
Panel. This order does not become effective until it is filed in the office of the Clerk for the United
States District Court for the Northern District of Ohio.

IT IS FURTHER ORDERED that, pursuant to Rule 10.4(a), the parties shall furnish the Clerk for
the Northern District of Ohio with a stipulation or designation of the contents of the record to be
remanded.



                                                       FOR THE PANEL:



                                                       John W. Nichols
                                                       Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                MDL No. 2804



                                 SCHEDULE FOR CRO


   TRANSFEREE            TRANSFEROR
 DIST DIV. C.A.NO.     DIST DIV. C.A.NO.     CASE CAPTION
                                             City of Huntington v. AmerisourceBergen
 OHN    1   17−45054   WVS   3    17−01362   Drug Corporation et al
                                             Cabell County Commission v.
 OHN    1   17−45053   WVS   3    17−01665   AmerisourceBergen Drug Corporation et al
